Case 16-12551-RGM                Doc 46     Filed 12/07/16 Entered 12/07/16 16:29:27        Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA

                                            Alexandria
                                      _____________________ Division


In re Farzad Farzayee
      Tobah Farzayee                                            Case No. 16-12551-RGM

                               Debtor(s)                        Chapter      13


                                        ORDER OF DISMISSAL
                                   UPON DENIAL OF CONFIRMATION


                      11/09/2016
       On _________________________,         the Court entered an Order Denying Confirmation and
providing that the debtor's case would be dismissed unless, within 21 days, the debtor(s) took action
under Local Bankruptcy Rule 3015-2;

           ____ It appears that the debtor(s) has not taken such action within the time given,

           ____ The debtor(s) having requested and received an extension of time within which
           to take action under Local Bankruptcy Rule 3015-2. It appears that the debtor(s) has
           not taken such action within the time given,

           It is, therefore,

         ORDERED, pursuant to Local Bankruptcy Rule 3015-2, that the above case be dismissed;
and it is further

        [If appropriate] ORDERED that the debtor(s) pay the balance of the filing fee in the
amount of $ _____________________
                         0.00       to the Clerk of Court within 14 days of the date of this
order; and it is further

         ORDERED that dismissal of this case revests the property of the estate in the entity in which
such property was vested immediately before the commencement of the case. The trustee need not
file a final report in this case unless property or money was administered.

                                                         WILLIAM C. REDDEN
                                                         Clerk of Court

Date: __________________________
       Dec 7 2016                                           /s/ Anthony L. Shepherd
                                                         By ___________________________________
                                                                           Deputy Clerk

                                                         NOTICE OF JUDGMENT OR ORDER
                                                         ENTERED ON DOCKET:

                                                         Dec 7 2016
                                                         ________________________________


 [odisdnco ver. 12/09]
